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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §    CASE NO. 1:13-CR-118(14)
                                                §
 DAN HUI LU                                     §

          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United States

 Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

 felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

 States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

 On December 17, 2014, this cause came before the undersigned United States Magistrate Judge

 for entry of a guilty plea by the defendant, Dan Hui Lu, on Count Two of the charging

 Indictment filed in this cause.

        Count Two of the Indictment Count Two of the Indictment charges that beginning as

 early as on or about April 21, 2004, and continuing until on or about on or about November 7,

 2013, in the Eastern District of Texas and elsewhere, Dan Hui Lu, and several other co-



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 defendants, did combine, conspire, confederate, agree, and have a tacit understanding with others

 known and unknown to the Grand Jury to commit the following offenses for commercial

 advantage and private financial gain:

        a.      to transport and move aliens within the United States by means of transportation

                or otherwise, in furtherance of such violation of law, knowing and in reckless

                disregard of the fact that aliens have come to, entered and remained in the United

                States, in violation of Title 8, United States Code, Section 1324(a)(1)(A)(ii);

        b.      to conceal, harbor, and shield from detection and attempt to conceal, harbor, and

                shield from detection aliens in any place, including any building or means of

                transportation, knowing and in reckless disregard of the fact that the aliens have

                come to, entered and remained in the United States in violation of law, in

                violation of Title 8, United States Code, Section 1324(a)(1)(A)(iii), and

        c.      to encourage and induce aliens to reside in the United States, knowing and in

                reckless disregard of the fact that such residence in the United States is and will

                be in violation of law, in violation of Title 8, United States Code, Section

                1324(a)(1)(A)(iv),

        all in violation of 8 U.S.C. § 1324(a)(1)(A)(v)(I). Count Two also sets forth alleged

 overt acts, manner and means of the conspiracy, background, and alleged objects and purposes

 of the conspiracy.

        Defendant, Dan Hui Lu, entered a plea of guilty to Count Two of the Indictment into the

 record at the hearing.



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        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

        d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and Defendant

 realizes that her conduct falls within the definition of the crime charged under 8 U.S.C.

 § 1324(a)(1)(A)(v)(I).

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

 this case were to proceed to trial the Government would prove that defendant is one and the same



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 person charged in Count Two of the Indictment and that the events described in Count Two of the

 Indictment occurred in the Eastern District of Texas and elsewhere. The Government would also

 prove beyond a reasonable doubt, through admissible exhibits and the sworn testimony of

 witnesses, each and every essential element of the crime charged in Count Two of the Indictment.

 The Court incorporates the proffer of evidence described in detail in the factual basis in support

 of the guilty plea. Defendant, Dan Hui Lu, agreed with and stipulated to the evidence presented

 in the factual basis.   Counsel for Defendant and the Government attested to Defendant’s

 competency and capability to enter an informed plea of guilty. The Defendant agreed with the

 evidence presented by the Government and personally testified that she was entering her guilty

 plea knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count Two of the charging Indictment on file in this criminal

 proceeding.   The Court also recommends that the District Court accept the plea agreement

 pursuant to Federal Rule of Criminal Procedure 11(c). Accordingly, it is further recommended

 that, Defendant, Dan Hui Lu, be finally adjudged as guilty of the charged offense under Title 8,

 United States Code, Section 1324(a)(1)(A)(v)(I).

        Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that



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 the District Court may reject the plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement until there has been an opportunity to

 consider the presentence report. See FED. R. CRIM. P. 11(c)(3)(A). If the Court rejects the plea

 agreement, the Court will advise Defendant in open court that it is not bound by the plea

 agreement and Defendant may have the opportunity to withdraw the guilty plea, dependent upon

 the type of the plea agreement. See FED. R. CRIM. P. 11(c)(3). If the plea agreement is rejected

 and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to

 Defendant than that contemplated by the plea agreement. Defendant has the right to allocute

 before the District Court before imposition of sentence.

                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

 (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1).

        A party’s failure to object bars that party from: (1) entitlement to de novo review by a

 district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of unobjected-to

 factual findings and legal conclusions accepted by the district court, see Douglass v. United Servs.

 Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded

 by Congress and the courts require that, when a party takes advantage of his right to object to a

 magistrate’s findings or recommendation, a district judge must exercise its nondelegable authority



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 by considering the actual evidence and not merely by reviewing and blindly adopting the

 magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



                    SIGNED this the 17th day of December, 2014.




                                                       ____________________________________
                                                       KEITH F. GIBLIN
                                                       UNITED STATES MAGISTRATE JUDGE




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